UNITED STATES DISTRICT COURT ef

DISTRICT OF MASSACHUSETTS

PAUL JONES, Ww
Plaintiff,

Vv.

OVERTIME SPORTS, INC., ZACK
WEINER, SLAM MEDIA, INC., Civil # 3:24-cv-30029
DENNIS PAGE, STAPLE DESIGN
STUDIO, INC., JEFFREY NG,
REGAL CINEMA INC., TAL
SOUDRY, AND JOHN A. CURRY,

Defendant.

NOTICE OF SETTLEMENT

Plaintiff Paul Jones notices the court that Plaintiff and Defendants Dennis Page and Slam Media

Inc. (collectively “Defendants”) have come to a settlement in the above case Civil # 3:24-cv-

30029 as of March 4, 2024.

The Parties are currently in the process of finalizing the terms of the settlement agreement and
plaintiff intends to file a Motion to dismiss with prejudice to defendants Page and Slam Media

Inc. once the necessary documentation are finalized.

1
Paul Jones  /s/ Paul Jones
79 Thompson Street
Springfield, Ma 01109
Pj22765@gmail.com
413-302-6079

March 4, 2024

CERTIFICATE OF SERVICE
I Paul Jones, certify that the above document Notice of Settlement has been served by email to
the defendant’s attorney of record on this 4" day of March 2024.

Respectfully submitted,
Paul Jones /s/Paul Jones
79 Thompson Street
Springfield, Ma 01109
Pj22765@gmail.com
413-302-6079

Alicia L. Downey, Esq.
Downey Law LLC

155 Federal Street, Suite 300
Boston, MA 02110
alicia@downeylawllc.com

Danielle Y. Vanderzanden (BBO #563933)
OGLETREE, DEAKINS, NASH,
SMOAK & STEWART, P.C.

One Boston Place, Suite 3500

Boston, MA 02108-4403

Telephone: 617-994-5700

Facsimile: 617-994-5701
dani.vanderzanden@ogletree.com

March 4, 2024
